    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 1 of 48




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION



NETCHOICE, LLC, et al.,

                    Plaintiffs,
   v.
                                                 Civil Action No.
ASHLEY BROOKE MOODY, in her official
                                                 4:21-cv-220- RH-MAF
capacity as Attorney General of the State of
Florida, et al.,

                   Defendants.


                 BRIEF OF INTERNET ASSOCIATION
                 AS AMICUS CURIAE IN SUPPORT OF
        PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION




Patrick J. Carome (pro hac vice pending)       Peter W. Homer
   (D.C. SBN 385676)                             (FL SBN 291250)
Paul R.Q. Wolfson (pro hac vice pending)       HOMER BONNER
   (D.C. SBN 414759)                           1200 Four Seasons Tower
Ari Holtzblatt (pro hac vice pending)          1441 Brickell Avenue
    (D.C. SBN 1009913)                         Miami, Florida 33131
WILMER CUTLER PICKERING                        (305) 350-5139
  HALE AND DORR LLP
1875 Pennsylvania Avenue, NW
Washington, DC 20006
(202) 663-6000
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 2 of 48




             DISCLOSURE STATEMENT OF AMICUS CURIAE
                     INTERNET ASSOCIATION

      Amicus Curiae Internet Association is not a publicly held corporation, does

not have a parent corporation, and has not issued stock. Therefore, no publicly

traded corporation owns ten percent or more of its stock.

      None of the counsel for the parties in this litigation has authored this brief, in

whole or in part. Furthermore, no party, party’s counsel, or outside organization has

funded the research, writing, preparation, or submission of this brief.

                                                /s/ Peter W. Homer
                                                Peter W. Homer




                                           i
       Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 3 of 48




                                         TABLE OF CONTENTS

                                                                                                                    Page
DISCLOSURE STATEMENT OF AMICUS CURIAE INTERNET
    ASSOCIATION ................................................................................................i

TABLE OF AUTHORITIES ....................................................................................iv

SUMMARY OF ARGUMENT ................................................................................. 1

BACKGROUND ....................................................................................................... 4

ARGUMENT ........................................................................................................... 11

I.       S.B. 7072’s Requirement For “Consistent” Moderation Is
         Impossible To Meet And Would Force Many Platforms To
         Curtail Their Beneficial Moderation Efforts ................................................. 11

         A.       The Sheer Volume Of Content On Most Online
                  Platforms Makes “Consistent” Moderation Impossible ...................... 11

         B.       “Consistency” Is Subjective And Elusive ........................................... 14

II.      Barring Platforms From Making Frequent Changes To Their
         Moderation Policies Would Prevent Them From Responding
         Constructively To Rapidly-Evolving Social Crises ...................................... 16

III.     S.B. 7072’s Consistency Requirement And Ban On Frequent
         Policy Changes Would Fundamentally And Deeply Violate
         Platform Operators’ First Amendment Rights .............................................. 22

IV.      Congress Enacted Section 230 To Preempt Burdensome State
         Laws Like S.B. 7072, That Would Discourage Content
         Moderation ..................................................................................................... 25

         A.       Section 230 Preempts S.B. 7072, Which Extensively
                  Regulates Online Services ................................................................... 27

         B.       Section 230 Was Enacted To Encourage Online Services
                  To Self-Regulate Content On Their Platforms, But S.B.
                  7072 Would Prohibit Them From Doing So ....................................... 30


                                                            ii
      Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 4 of 48




CONCLUSION ........................................................................................................ 34

CERTIFICATE OF COMPLIANCE ....................................................................... 36

CERTIFICATE OF SERVICE ................................................................................ 37




                                                         iii
       Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 5 of 48




                                       TABLE OF AUTHORITIES

                                                        CASES
                                                                                                                 Page(s)
Attwood v. Clemons, No. 18-cv-38, 2021 WL 1020449 (N.D. Fla.
     Mar. 17, 2021) ............................................................................................... 32

Bennett v. Google, LLC, 882 F.3d 1163 (D.C. Cir. 2018) ....................................... 32

Boggs v. Boggs, 520 U.S. 833 (1997) ...................................................................... 26

Doe v. Kik Interactive, Inc., 482 F. Supp. 3d 1242 (S.D. Fla. 2020) ...................... 27

Domen v. Vimeo, Inc., 991 F.3d 66 (2d Cir. 2021) ............................................12, 33

e-ventures Worldwide, LLC v. Google, Inc., No. 14-cv-646, 2017 WL
      2210029 (M.D. Fla. Feb. 8, 2017) ................................................................. 24

Force v. Facebook, Inc., 934 F.3d 53 (2d Cir. 2019), cert. denied, 140
      S. Ct. 2761 (2020)......................................................................................2, 30

Gade v. National Solid Wastes Management Ass’n, 505 U.S. 88
     (1992) ....................................................................................................... 26, 34

Hurley v. Irish-American Gay, Lesbian, & Bisexual Group, 515 U.S.
      557 (1995) ...................................................................................................... 23

Janus v. American Federation of State, County, & Municipal
      Employees, Council 31, 138 S. Ct. 2448 (2018) ........................................... 25

Jian Zhang v. Baidu.com Inc., 10 F. Supp. 3d 433 (S.D.N.Y. 2014) ...................... 24

Miami Herald Publishing Co. v. Tornillo, 418 U.S. 241 (1974) ...................4, 22, 23

Pilot Life Insurance Co. v. Dedeaux, 481 U.S. 41 (1987) ....................................... 26

Reno v. ACLU, 521 U.S. 844 (1997)........................................................................ 23

Stratton Oakmont, Inc. v. Prodigy Service Co., 1995 WL 323710
       (N.Y. Sup. Ct. May 24, 1995) .............................................................7, 30, 31

West Virginia State Board of Education v. Barnette, 319 U.S. 624
      (1943) ............................................................................................................. 25



                                                             iv
       Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 6 of 48




Zeran v. America Online, Inc., 129 F.3d 327 (4th Cir. 1997) .........12, 26, 27, 28, 32

                                      STATUTORY PROVISIONS

47 U.S.C. § 230 .................................................................................................passim

Fla. Stat. § 501.2041 (added by Fla. S.B. 7072, § 4 (2021)) ...........................1, 3, 16

                                     LEGISLATIVE MATERIALS

H.R. Rep. No. 104-458 (1996) (Conf. Rep.) ........................................................... 31

H.R. Rep. No. 115-572 (2018) ................................................................................. 30

Online Sex Trafficking and the Communications Decency Act:
      Hearing Before the Subcommittee on Crime, Terrorism, et al. of
      the House Committee on the Judiciary, 115th Cong., 1st Sess. 7
      (2017) ............................................................................................................. 30

141 Cong. Rec. 21,999 (1995) ...........................................................................28, 31

Fla. S.B. 7072 (2021) ........................................................................................passim

                                         OTHER AUTHORITIES*

15th Transparency Report: Increase in Proactive Enforcement on
      Accounts, TWITTER (Oct. 31 2019), https://blog.twitter.com/
      en_us/topics/company/2019/twitter-transparency-report-
      2019.html ......................................................................................................... 9

Alexander, Julia, YouTube Claims its Crackdown on Borderline
     Content is Actually Working, THE VERGE (Dec. 3, 2019),
     https://www.theverge.com/2019/12/3/20992018/youtube-
     borderline-content-recommendation-algorithm-news-
     authoritative-sources ...................................................................................... 19

An Update on Our Continuity Strategy During COVID-19, TWITTER
     (Mar. 16, 2020; updated Apr. 1, 2020), https://blog.twitter.com/
     en_us/topics/company/2020/An-update-on-our-continuity-
     strategy-during-COVID-19 ........................................................................... 20


*
         All URLs visited on June 14, 2021.

                                                             v
      Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 7 of 48




Appealed Content, Transparency Center, FACEBOOK (Jun. 1, 2021),
     https://transparency.fb.com/policies/improving/appealed-
     content-metric/ ............................................................................................... 11

Authenticity, Community Standards, AIRBNB, https://www.airbnb.
     com/trust/standards .......................................................................................... 7

Bullying and Harassment, Community Standards, FACEBOOK, https://
      www.facebook.com/communitystandards/bullying ........................................ 7

Community Guidelines, PINTEREST, https://policy.pinterest.com/en/
    community-guidelines ..................................................................................... 5

Community Guidelines Strike Basics, YOUTUBE, https://support.
    google.com/youtube/answer/2802032?hl=e .................................................. 11

Community Guidelines, YOUTUBE, https://www.youtube.com/about/
    policies/#community-guidelines...................................................................... 6

Community Policy, Etsy, https://www.etsy.com/legal/community/ .......................... 4

Community Standards, FACEBOOK, https://www.facebook.com/
    communitystandards/ ....................................................................................... 6

Community Standards Enforcement Report, Transparency Center,
    FACEBOOK (May 2021), https://transparency.fb.com/data/
    community-standards-enforcement/ .............................................................. 13

Content Guidelines, YELP, https://www.yelp.com/guidelines ................................... 7

Coronavirus: Staying Safe and Informed on Twitter, Broadening our
     guidance on unverified claims, TWITTER (Apr. 22, 2020),
     https://blog.twitter.com/en_us/topics/company/2020/covid-
     19.html#misleadinginformationupdate .......................................................... 21

Coronavirus: Staying Safe and Informed on Twitter, COVID-19
     account verification, TWITTER (Mar. 20, 2020), https://blog.
     twitter.com/en_us/topics/company/2020/covid-19.html#
     misleadinginformationupdate ........................................................................ 21




                                                          vi
      Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 8 of 48




Coronavirus: Staying Safe and Informed on Twitter, COVID-19 tab in
     Explore, TWITTER (May 18, 2020), https://blog.twitter.com/
     en_us/topics/company/2020/covid-19.html#misleading
     informationupdate .......................................................................................... 21

Coronavirus: Staying Safe and Informed on Twitter, Global
     Expansion of the COVID-19 Search Prompt, TWITTER (Mar. 4,
     2020), https://blog.twitter.com/en_us/topics/company/2020/
     covid-19.html#misleadinginformationupdate ............................................... 20

Coronavirus: Staying Safe and Informed on Twitter, Launch of a New
     Dedicated #KnowTheFacts Search Prompt, TWITTER (Jan. 29,
     2020), https://blog.twitter.com/en_us/topics/company/2020/
     covid-19.html#misleadinginformationupdate ............................................... 20

Coronavirus: Staying Safe and Informed on Twitter, Our ads policy
     for COVID-19, TWITTER (Apr. 2, 2020), https://blog.twitter.
     com/en_us/topics/company/2020/covid-19.html#misleading
     informationupdate .......................................................................................... 21

Coronavirus: Staying Safe and Informed on Twitter, Updating our
     approach to misleading information, TWITTER (May 11, 2020),
     https://blog.twitter.com/en_us/topics/company/2020/covid-
     19.html#misleadinginformationupdate .......................................................... 21

Cox, Joseph & Jason Koebler, ‘FIND THIS F---’: Inside Citizen’s
      Dangerous Effort to Cash In On Vigilantism, VICE (May 27,
      2021), https://www.vice.com/en/article/y3dpyw/inside-crime-
      app-citizen-vigilante ........................................................................................ 6

Dean, Brian, Reddit Usage and Growth Statistics, BACKLINKO (Feb.
      25, 2021), https://backlinko.com/reddit-users ............................................... 13

Developing Policies, YOUTUBE, https://www.youtube.com/how
     youtubeworks/policies/community-guidelines/#developing-
     policies (last visited June 8, 2021) .................................................................. 9

Does Facebook Allow Photos of Mothers Breastfeeding?, FACEBOOK,
     https://www.facebook.com/help/340974655932193..................................... 16




                                                         vii
       Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 9 of 48




Douek, Evelyn, COVID-19 and Social Media Content Moderation,
     LAWFARE (Mar. 25, 2020), https://www.lawfareblog.com/
     covid-19-and-social-media-content-moderation ........................................... 22

Facebook Reports First Quarter 2021 Results, Investor Relations,
     FACEBOOK (Apr. 28, 2021), https://investor.fb.com/investor-
     news/press-release-details/2021/Facebook-Reports-First-
     Quarter-2021-Results/default.aspx ................................................................ 12

Frankel, Rafael, An Update on the Situation in Myanmar, FACEBOOK
      (Feb. 24, 2021), https://about.fb.com/news/2021/02/an-update-
      on-myanmar/ .................................................................................................. 18

Housing Data, Inventory, ZILLOW, https://www.zillow.com/research/
     data/ ................................................................................................................ 13

Kosseff, Jeff, Defending Section 230: The Value of Intermediary
     Immunity, 15 J. Tech. L. & Pol’y 123 (2010)....................................27, 33, 34

Kosseff, Jeff, The Gradual Erosion of the Law That Shaped the
     Internet: Section 230's Evolution over Two Decades, 18 Colum.
     Sci. & Tech. L. Rev. 1 (2016) ....................................................................... 26

LinkedIn Professional Community Policies, LINKEDIN, https://www.
      linkedin.com/help/linkedin/answer/34593/linkedin-professional
      -community-policies?lang=en; ........................................................................ 6

Newton, Casey, YouTube Says it Will Recommend Fewer Videos
     About Conspiracy Theories, THE VERGE (Jan. 25, 2019), https://
     www.theverge.com/2019/1/25/18197301/youtube-algorithm-
     conspiracy-theories-misinformation .............................................................. 19

Nguyen, Kelly, The Students and Stans Saving K-pop Idols from
     Deepfake Porn, VICE (June 2, 2021), https://i-d.vice.com/
     en_uk/article/k78zzy/k-pop-deepfake-porn-idols-cyber-
     investigation ..................................................................................................... 6

Number of Active Etsy Sellers from 2012 to 2020, STATISTA (Mar. 11,
    2021) https://www.statista.com/statistics/409374/etsy-active-
    sellers/ ............................................................................................................ 13




                                                            viii
      Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 10 of 48




Platform Manipulation and Spam Policy, General Guidelines and
      Policies, TWITTER, https://help.twitter.com/en/rules-and-
      policies/platform-manipulation ....................................................................... 8

Policies and Guidelines, PINTEREST, https://policy.pinterest.com/en ....................... 6

Prohibited Items Policy, ETSY, https://www.etsy.com/legal/prohibited/ .................. 5

Purnell, Newley, After Myanmar Coup, Facebook Removes National
      Military TV Network’s Page, WALL STREET JOURNAL (Feb. 2,
      2021) .............................................................................................................. 18

Rainey, James, “Wikitorial” Pulled Due to Vandalism, L.A. TIMES
     (June 21, 2005, 12:00 AM), https://www.latimes.com/
     archives/la-xpm-2005-jun-21-na-wiki21-story.html ....................................... 8

Reddit Content Policy, REDDIT, https://www.redditinc.com/policies/
      content-policy; ............................................................................................. 5, 6

Reporting Inappropriate Content, YOUTUBE, https://support.google.
     com/youtube/answer/2802027?hl=en&ref_topic=9387085 ............................ 9

Robertson, Facebook Designates Myanmar a ‘Temporary High-Risk
     Location’ After Coup, THE VERGE (Feb. 3, 2021), https://www.
     theverge. com/2021/2/3/22264180/facebook-myanmar-coup-
     response-temporary-high-risk-location ......................................................... 18

Shenkman, Carey, et al., Do You See What I See? Capabilities and
     Limits of Automated Multimedia Content Analysis, Center for
     Democracy & Technology (May 20, 2021), https://cdt.org/
     insights/do-you-see-what-i-see-capabilities-and-limits-of-
     automated-multimedia-content-analysis/ ...................................................... 14

Spending 2020 Together on Twitter, Insights, TWITTER, https://blog.
     twitter.com/en_us/topics/insights/2020/spending-2020-together-
     on-twitter.html ............................................................................................... 13

Subramanian, Courtney, Facebook is Officially OK with (Some)
     Mastectomy Photos, TIME (June 13, 2013), https://newsfeed.
     time.com/2013/06/13/facebook-is-officially-ok-with-some-
     mastectomy-photos/ ....................................................................................... 16



                                                             ix
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 11 of 48




The Twitter Rules, TWITTER, https://help.twitter.com/en/rules-and-
     policies/twitter-rules ........................................................................................ 6

Thomas, Zoe, Facebook Content Moderators Paid To Work from
    Home, BBC (Mar. 18, 2020), https://www.bbc.com/news/
    technology-51954968 .................................................................................... 10

Twitter Safety, COVID-19: Our Approach to Misleading Vaccine
      Information, TWITTER (Dec. 16, 2020), https://blog.twitter.com/
      en_us/topics/company/2020/covid19-vaccine.html ...................................... 22

Twitter Safety, Updates to Our Work on COVID-19 Vaccine
      Misinformation, TWITTER (Mar. 1, 2021), https://blog.twitter.
      com/en_us/topics/company/2021/updates-to-our-work-on-
      covid-19-vaccine-misinformation.html ......................................................... 22

Van Zuylen-Wood, Simon, ‘Men Are Scum’: Inside Facebook’s War
     on Hate Speech, VANITY FAIR (Feb. 26, 2019), https://www.
     vanityfair.com/news/2019/02/men-are-scum-inside-facebook-
     war-on-hate-speech .......................................................................................... 9

YouTube for Press, YOUTUBE, https://blog.youtube/press/ ..................................... 12




                                                          x
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 12 of 48




                          SUMMARY OF ARGUMENT

      Amicus urges the Court to grant plaintiffs’ motion for a preliminary injunction

and to strike down S.B. 7072 in its entirety. For the reasons articulated in plaintiffs’

motion, with which Amicus agrees and fully supports, S.B. 7072 violates the First

Amendment, is preempted by Section 230 of the Communications Decency Act, and

is unconstitutionally vague. Amicus writes separately to highlight the extreme

practical problems, and especially grave legal defects, inherent in two particular

provisions of S.B. 7072: its mandate for “consistent” moderation, § 501.2041(2)(b),

and its limitation on rule changes “more than once every 30 days,” § 501.2041(2)(c).

While this brief focuses on these two provisions, Amicus also endorses plaintiffs’

view that S.B. 7072 is riddled with other fatal legal defects.

      Amicus’s members include online platforms through which users can share

news and opinions, advertise goods, rate and review service businesses and vendors,

search for housing, and interact with individuals around the globe. Especially in a

time when travel is restricted due to a global pandemic, these online services connect

people with loved ones, friends, and colleagues in ways that are essential and that

would otherwise not be possible. In offering these and a myriad of other services,

these providers adopt policies and employ a wide variety of techniques, often

tailored to their particular purposes and audiences, to affect what sorts of content do

and do not appear, or are or are not prominently highlighted and featured, on their



                                           1
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 13 of 48




platforms. These techniques include a variety of curatorial and editorial policies,

standards, and processes, as well as manual and automated mechanisms for filtering,

screening, or otherwise preventing users from posting material that violates the

provider’s content rules, often referred to as “[c]ommunity [s]tandards.” Force v.

Facebook, Inc., 934 F.3d 53, 59-60 & n.5 (2d Cir. 2019), cert. denied, 140 S. Ct.

2761 (2020).

      The content policies and community standards of Amicus’s members vary

significantly depending on each platform’s functions and purposes, and may include,

for example, prohibiting hate speech and bullying, requiring sellers to provide

accurate information about their products, or penalizing users for artificially

amplifying the significance of their posts (e.g., by using fake accounts to increase

the number of times a post is “liked”). See id. at 60. Without the ability to prevent

unwanted or offensive content, the services that Amicus’s members provide could

become unsafe, unreliable, or unable to perform the functions on which their users,

the public, and the global economy have come to rely.

      S.B. 7072 would fundamentally disrupt platform operators’ ability, and

deeply infringe upon their rights, to develop and enforce standards for the content

they disseminate, to organize and curate that content, to comment on or contextualize

content, and to provide their audiences with an online experience consistent with

their unique norms and standards. S.B. 7072 mandates that providers moderate



                                         2
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 14 of 48




content “in a consistent manner among its users on the platform.” § 501.2041(2)(b).

The sheer volume of internet content and number of users, however, make that

standard impossible to satisfy. The inherent ambiguity and subjectivity implicated

by S.B. 7072’s “consistency” requirement means complying with the law is even

more unworkable. Faced with those practical realities, the only way to guarantee

consistent content moderation—and thereby avoid significant penalties—would be

to do no moderation at all.

       S.B. 7072 would also prevent platforms from changing their “user rules,

terms, and agreements … more than once every 30 days.” § 501.2041(2)(c). That

restriction would drastically hinder providers’ ability to move rapidly to moderate

content in response to new developments and current events. Indeed, providers’

recent responses to unforeseen events—from the COVID-19 pandemic to the coup

in Myanmar—have highlighted the need to quickly develop and adjust moderation

policies, sometimes through iterative processes. S.B. 7072 would foreclose that

essential flexibility.

       Both the consistency requirement and the 30-day freeze on rule changes (like

S.B. 7072’s other content moderation provisions) violate providers’ fundamental

First Amendment rights. The Supreme Court has long recognized that the First

Amendment protects the right to engage in “editorial control and judgment,” which

prohibits the government from “[c]ompelling editors or publishers to publish that



                                         3
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 15 of 48




which reason tells them should not be published.” Miami Herald Publ’g. Co. v.

Tornillo, 418 U.S. 241, 256, 258 (1974) (quotations omitted). Yet S.B. 7072

attempts to do just that. Moreover, both provisions—along with the remainder of

the law—are expressly and impliedly preempted by Section 230 of the

Communications Decency Act, 47 U.S.C. § 230. Congress enacted Section 230 to

limit government regulation and to encourage providers to self-regulate content on

their platforms.    By taking a diametrically opposite approach—intensively

regulating providers’ efforts to moderate content for the benefit of their users—S.B.

7072 both violates Section 230’s express ban on inconsistent state legislation and

conflicts with Section 230’s core purposes.

                                 BACKGROUND

      Content moderation is integral to the vitality of online services and

communities of all sizes. It allows providers to protect their users and platforms

from a range of attacks—from financial scams and hacking attempts to abuse, threats

of violence, and graphic or obscene imagery. It affords providers flexibility to tailor

their standards to meet the needs of their community of users—which in turn allows

diverse and engaging content to flourish. And it allows providers to distinguish

themselves from others and create unique communities of users. Etsy, an online

marketplace that connects sellers of unique and creative goods to buyers around the

world, has a “zero tolerance policy for prohibited items, particularly those that



                                          4
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 16 of 48




promote, support or glorify hatred, those that promote, support or glorify violence,

or are unlawful,” which includes a community of sellers who “find inspiration, share

knowledge, discuss ideas, and build relationships that help them grow their

businesses.”1 Pinterest, an image-sharing and social media company, prohibits

“antagonistic, explicit, false or misleading, harmful, hateful, or violent content or

behavior” in order to serve its mission of “bring[ing] everyone the inspiration to

create a life they love.”2 And Reddit’s content policy is intended to “shape[]” the

“culture” of the “vast network of communities” that exist on the platform and ensure

that “no community [is] used as a weapon” and all users “have an expectation of

privacy and safety.”3

      To ensure that their platforms meet users’ needs, online services of every

stripe have issued community standards prohibiting various forms of objectionable

material from their websites. Content posted to the internet reflects the complete

spectrum of human expression—from informative articles, insightful commentary,

and moving artwork to appalling content such as nonconsensual deepfake




1
    Prohibited Items Policy, ETSY, https://www.etsy.com/legal/prohibited/;
Community Policy, ETSY, https://www.etsy.com/legal/community/.
2
    Community Guidelines, PINTEREST, https://policy.pinterest.com/en/
community-guidelines.
3
      Reddit Content Policy, REDDIT, https://www.redditinc.com/policies/content-
policy.


                                         5
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 17 of 48




pornography,4 vigilante groups initiating manhunts,5 and gender- and race-based

harassment.    Many providers have determined that allowing objectionable or

harmful content to appear on their platforms would degrade the quality of their

platforms. Common examples of material prohibited by community policies include

abusive imagery, incitements to violence, fraudulent schemes, virulent hate speech,

material that advertises the sale of illegal goods and services, misleading commercial

content, and content that endangers or exploits minors.6

      Beyond these very common prohibitions, community standards reflect the

diversity of the internet itself, with different platforms adopting standards

specifically tailored to the platform’s business and purposes and the preferences or




4
      See Nguyen, The Students and Stans Saving K-pop Idols from Deepfake Porn,
VICE (June 2, 2021), https://i-d.vice.com/en_uk/article/k78zzy/k-pop-deepfake-
porn-idols-cyber-investigation.
5
     See Cox & Koebler, ‘FIND THIS F---’: Inside Citizen’s Dangerous Effort to
Cash In On Vigilantism, VICE (May 27, 2021), https://www.vice.com/en/article/
y3dpyw/inside-crime-app-citizen-vigilante.
6
       See, e.g., The Twitter Rules, TWITTER, https://help.twitter.com/en/rules-and-
policies/twitter-rules;        Community            Guidelines,          YOUTUBE,
https://www.youtube.com/howyoutubeworks/policies/community-guidelines/
#community-guidelines;           Community           Standards,         FACEBOOK,
https://www.facebook.com/communitystandards/; Reddit Content Policy, REDDIT,
https://www.redditinc.com/policies/content-policy;       LinkedIn      Professional
Community Policies, LINKEDIN, https://www.linkedin.com/help/linkedin/answer/34
593/linkedin-professional-community-policies?lang=en; Policies and Guidelines,
PINTEREST, https://policy.pinterest.com/en.


                                          6
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 18 of 48




needs of its particular community of users.7 In order to tailor their platform to a

particular community, some providers may disallow content that other providers

would find acceptable. For example, a family-oriented website might categorically

prohibit violent or graphic content, while other providers might allow such content

for educational or newsworthy purposes.8           Social network platforms might

implement protections to prevent harassment of younger users given that such

content can “have more of an emotional impact on minors.”9 Retail and rental

platforms might prohibit users from posting inaccurate product information given

the importance of buyers knowing what they are purchasing.10 Platforms that

compile user reviews might prohibit users from posting anonymous or irrelevant

reviews, or might prevent users from reviewing their own, friends’ or relatives’

businesses.11 And platforms frequented by influential figures might prohibit users


7
       E.g., Veitch Decl. ¶ 3 (“YouTube strives to be a community that fosters self-
expression on an array of topics as diverse as its user base, and to nurture a thriving
creative and informational ecosystem.”); Pavlovic Decl. ¶ 6 (“Etsy prohibits certain
types of items from our platform because they are inconsistent with Etsy’s values
and ‘the spirit of Etsy,’ including items that are high risk, potentially harmful to our
members, or unlawful.”).
8
      See Stratton Oakmont, Inc. v. Prodigy Servs. Co., 1995 WL 323710, at *2-3
(N.Y. Sup. Ct. May 24, 1995).
9
       Bullying and Harassment, Community Standards,                       FACEBOOK,
https://www.facebook.com/communitystandards/bullying.
10
      Authenticity, Community Standards, AIRBNB, https://www.airbnb.com/trust/
standards.
11
       Content Guidelines, YELP, https://www.yelp.com/guidelines.


                                           7
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 19 of 48




from misleadingly impersonating such figures, which could deceive other users or

disrupt financial markets.12

       These sorts of community standards are essential to providers’ ability to offer

secure, desirable, and functional services. Without them, forums would become

overrun with objectionable, abusive, or offensive content that swamps constructive

speech and causes others to abandon the platform. Indeed, past attempts by some

providers to minimize content moderation have quickly been reversed for that very

reason.13 Providers thus devote enormous resources to crafting and enforcing these

community standards.14 Some providers have entire teams and expert consultants




12
     Platform Manipulation and Spam Policy, General Guidelines and Policies,
TWITTER, https://help.twitter.com/en/rules-and-policies/platform-manipulation.
13
       See, e.g., Rainey, “Wikitorial” Pulled Due to Vandalism, L.A. Times (June
21, 2005, 12:00 AM), https://www.latimes.com/archives/la-xpm-2005-jun-21-na-
wiki21-story.html (describing the Los Angeles Times’ attempt to launch a feature
that allowed readers to post unmoderated content; editors “ordered the feature shut
down” within days because “readers were flooding the site with inappropriate
material”).
14
       E.g., Veitch Decl. ¶ 4 (explaining that “YouTube has always had policies that
govern how people may use the service, including restrictions on the types of content
that they may post,” and that [t]hese policies are designed and regularly updated to
make YouTube a safer and more enjoyable place for users and creators”); Potts Decl.
¶¶ 8, 10 (explaining that “Facebook has invested substantial resources to maintain a
safe experience for its community” by “over many years develop[ing] robust policies
and practices relating to content moderation”).


                                          8
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 20 of 48




devoted to figuring out what their rules should be and where to draw the lines.15 And

providers deploy even more resources to enforce their rules and standards, with

many providers combining manual and automated review systems. Many services

allow users to flag potentially objectionable material, which is then manually

reviewed by the provider.16 Some have dedicated teams that proactively monitor the

platform; others deploy sophisticated algorithms to help identify and block

objectionable content.17    At larger providers, the scale of these moderation

operations requires a massive investment of resources. YouTube and Facebook, for




15
       See, e.g., Van Zuylen-Wood, ‘Men Are Scum’: Inside Facebook’s War on
Hate         Speech,       VANITY      FAIR       (Feb.       26,     2019),
https://www.vanityfair.com/news/2019/02/men-are-scum-inside-facebook-war-on-
hate-speech; Developing Policies, YOUTUBE, https://www.youtube.com/
howyoutubeworks/policies/community-guidelines/#developing-policies.
16
      E.g., Reporting Inappropriate Content, YOUTUBE, https://support.
google.com/youtube/answer/2802027?hl=en&ref_topic=9387085 (describing the
various procedures and options users have “to report content that they find
inappropriate” for review).
17
      E.g., 15th Transparency Report: Increase in Proactive Enforcement on
Accounts, TWITTER (Oct. 31 2019), https://blog.twitter.com/en_us/topics/company/
2019/twitter-transparency-report-2019 (noting that “more than 50% of Tweets
[Twitter] take[s] action on for abuse are now proactively surfaced using
technology”).


                                         9
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 21 of 48




example, employ thousands of staff to review material and apply content-moderation

policies.18

       While Amicus’s members may differ in precisely how they craft and enforce

their community standards, they are uniform in their desire that their standards be

fairly enforced. Amicus’s members voluntarily go to great lengths to publish and

explain to their users what content is and is not permitted.19 These standards are

conveyed in clear language and are readily accessible on platforms’ websites. And

providers generally give warnings before permanently terminating access to a user’s

account. YouTube, for example, uses a “three strikes” policy, where a user receives

a warning, but no penalty for the first detected violation. After that one-time

warning, three violations within the same 90-day period will result in permanent

account suspension, preceded by a one-week suspension for the first strike, and a

two-week suspension for the second strike (with occasional bypassing of the strike


18
      E.g., Thomas, Facebook Content Moderators Paid To Work from Home, BBC
(Mar. 18, 2020), https://www.bbc.com/news/technology-51954968 (noting
Facebook “has approximately 15,000 content moderators in the US”); Veitch Decl.
¶ 6 (noting YouTube “has hired over 10,000 people who are responsible for
moderating content on YouTube”).
19
      E.g., Veitch Decl. ¶ 9 & n.3 (explaining that YouTube’s “Community
Guidelines provide clear, public-facing guidance on types of content not allowed on
the platform” and that the company “communicate[s] [its] practices to all users
through YouTube’s Community Guidelines”); Potts Decl. ¶ 13 (explaining that
Facebook’s Community Standards “provide details about what content is not
allowed on Facebook” and allow users to “see Facebook's policy rationale for
prohibiting each category of content and examples”).


                                        10
          Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 22 of 48




system for channels dedicated to violating policies or a single case of “severe”

abuse).20 Many providers also voluntarily give users mechanisms to appeal their

content-moderation decisions.21 These procedures are intended to promote clarity,

transparency, and fairness while allowing online speech to thrive.

                                       ARGUMENT

     I.     S.B. 7072’s Requirement For “Consistent” Moderation Is Impossible To
            Meet And Would Force Many Platforms To Curtail Their Beneficial
            Moderation Efforts

            S.B. 7072 provides:    “A social media platform must apply censorship,

deplatforming, and shadow banning standards in a consistent manner among its users

on the platform.” § 501.2041(2)(b). The Court should not be misled by the statute’s

deceptively simple appeal to “consistency.” In fact, this consistency requirement is

impossible to satisfy and lacking in any understandable or objective definition. If

allowed to take effect, it would broadly stifle content moderation and make the

platforms far less hospitable to the users and audiences platforms seek to attract.

            A. The Sheer Volume Of Content On Most Online Platforms Makes
               “Consistent” Moderation Impossible

            No matter how hard providers work to apply their standards fairly across the

board, compliance with S.B. 7072’s consistency requirement would be virtually


20
      Community Guidelines Strike Basics, YOUTUBE, https://support.google.com/
youtube/answer/2802032?hl=en
21
      See, e.g., id.; Appealed Content, Transparency Center, FACEBOOK (Jun. 1,
2021), https://transparency.fb.com/policies/improving/appealed-content-metric/.


                                             11
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 23 of 48




impossible.   Courts have repeatedly recognized the difficulties platforms face

moderating third-party content given the enormous volumes of content they carry.

For example, in Domen v. Vimeo, Inc., 991 F.3d 66 (2d Cir. 2021), the Second

Circuit recognized: “Given the massive amount of user-generated content available

on interactive platforms, imperfect exercise of content-policing discretion does not,

without more, suggest that enforcement of content policies was not done in good

faith.” Id. at 73. The Fourth Circuit recognized this same reality in 1997, when the

internet was still, relatively speaking, in its nascency: “The amount of information

communicated via interactive computer services is … staggering. … It would be

impossible for service providers to screen each of their millions of postings for

possible problems.” Zeran v. America Online, Inc., 129 F.3d 327, 331 (4th Cir.

1997).

       The volume of content has skyrocketed since then. On Google’s YouTube

platform, for example, more than 500 hours of content are uploaded every minute—

or more than 720,000 hours each day.22 Facebook has more than a billion active

users every day.23 And Twitter hosted, in 2020, more than 700 million Tweets about

elections; more than 2 billion Tweets about sports, and more than 7,000 Tweets per


22
       YouTube for Press, YOUTUBE, https://blog.youtube/press/.
23
      Facebook Reports First Quarter 2021 Results, Investor Relations, FACEBOOK
(Apr. 28, 2021), https://investor.fb.com/investor-news/press-release-details/
2021/Facebook-Reports-First-Quarter-2021-Results/default.aspx.


                                         12
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 24 of 48




minute about television and movies.24 Even on “smaller” platforms, the amount of

user-generated content is still staggering; for example, the real estate website Zillow

featured 949,788 active listings in April 2021,25 the independent seller platform Etsy

hosted more than 4.3 million sellers in 2020,26 and Reddit has more than 430 million

monthly active users.27 And although the relative portion of potentially violative

content is small, in absolute numbers it is very large. In the first quarter of 2021,

Facebook took action on 8.8 million pieces of content for bullying and harassment,

5 million pieces of content for child nudity and sexual exploitation, 9 million pieces

of content for terrorism, 9.8 million pieces of content for organized hate, and 1.3

billion fake accounts.28

       There is simply no way for a platform to review every one of these posts to

ensure consistent application of a platform’s rules or standards. Providers often rely

on other users to report community standards violations—but users inevitably report


24
       Spending       2020   Together      on     Twitter,   Insights,  TWITTER,
https://blog.twitter.com/en_us/topics/insights/2020/spending-2020-together-on-
twitter.
25
      See Housing Data, Inventory, ZILLOW,                   https://www.zillow.com/
research/data/ (inventory Excel linked for download).
26
       Number of Active Etsy Sellers from 2012 to 2020, STATISTA (Mar. 11, 2021)
https://www.statista.com/statistics/409374/etsy-active-sellers/.
27
       Dean, Reddit Usage and Growth Statistics, BACKLINKO (Feb. 25, 2021),
https://backlinko.com/reddit-users.
28
     Community Standards Enforcement Report, Transparency Center, FACEBOOK
(May 2021), https://transparency.fb.com/data/community-standards-enforcement/.


                                          13
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 25 of 48




only a small fraction of all violations.      Some companies employ automated

technology to flag as much violative content as they can, but automated tools lack

the ability to discern context and sometimes fail to distinguish content that is

welcome from content that violates community standards. Nor are automated tools

always capable of detecting and blocking unanticipated or new forms of abusive

content.29 Even when users and technology flag possible violations, and even when

platforms have clear standards and excellent training on their implementation, the

standards are still subject to the human fallibility of the reviewer; no one person

could possibly review every content violation, and different people may apply the

same standard differently. The only way to avoid those moderation shortfalls—and

engage in “consistent” moderation—would be to avoid any moderation at all.

       B. “Consistency” Is Subjective And Elusive

       A second problem with S.B. 7072’s demand for “consistent” content

moderation is that, at least in this context, what qualifies as “consistent” is highly

nebulous. As an initial matter, the Florida legislature did not even attempt to define

the term. Must a platform take precisely the same enforcement action against users

who publish the same exact content or category of content, does a sliding scale apply,



29
       See Shenkman, et al., Do You See What I See? Capabilities and Limits of
Automated Multimedia Content Analysis, Center for Democracy & Technology
(May 20, 2021), https://cdt.org/insights/do-you-see-what-i-see-capabilities-and-
limits-of-automated-multimedia-content-analysis/.


                                         14
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 26 of 48




or is there some other measure of consistency? Must content moderation be perfectly

consistent or is there some numerical formula (i.e., 95% consistent)? Is there some

objective standard of consistency (and if so, what?) or does a regulator’s subjective

view of consistency govern? The law answers none of these questions.

      However “consistent” might be interpreted, it would be very difficult, if not

impossible, to apply any rule of consistency to activities and decisions that are as

varied and subjective as organizing, contextualizing, moderating, and curating the

unimaginably diverse types of content that are constantly disseminated through

online platforms.    As with all human communication, context matters, and

something that is offensive or hateful in one setting may be empowering or

educational in another. Any attempt to moderate has the potential to be deemed

“inconsistent.”

      Providers, for instance, may generally prohibit nudity but choose to allow

posts that depict, for example, nude ancient statues or nudity that educates users

about breastfeeding or childbirth; users may generally avoid a platform that contains

nudity in a sexual context, but the same users may appreciate educational or artistic

nudity.   And what one person interprets as sexual may be purely artistic or

educational for another. In one real-life example, Facebook generally prohibits

nudity, but it allows users to post images of breasts to increase awareness and

community in the context of breast cancer or breastfeeding. Facebook allows



                                         15
      Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 27 of 48




mastectomy photos because “undergoing a mastectomy is a life-changing experience

and … sharing photos can help raise awareness about breast cancer and support the

men and women facing a diagnosis, undergoing treatment, or living with the scars

of cancer.”30 Similarly, Facebook believes that “breastfeeding is natural and

beautiful” and “it’s important for mothers to share their experiences with others on

Facebook.”31 But it is not clear, under Florida’s law, whether creating exceptions

for nudity related to breastfeeding or breast cancer would be considered not

“consistent” and thereby subject a platform that made that reasonable choice to

enforcement proceedings, penalties, and civil liability.

II.     Barring Platforms From Making Frequent Changes To Their
        Moderation Policies Would Prevent Them From Responding
        Constructively To Rapidly-Evolving Social Crises

        S.B. 7072’s prohibition of online platforms changing their “user rules, terms,

and agreements ... more than once every 30 days,” § 501.2041(2)(c), would severely

hinder their ability to react and adapt to new and unanticipated problems that may

rapidly emerge on the internet, and thereby leave platforms incapable of

appropriately protecting the wellbeing and safety of the communities they serve.



30
       See Subramanian, Facebook is Officially OK with (Some) Mastectomy
Photos, TIME (June 13, 2013), https://newsfeed.time.com/2013/06/13/facebook-is-
officially-ok-with-some-mastectomy-photos/.
31
       See Does Facebook Allow Photos of Mothers Breastfeeding?, FACEBOOK,
https://www.facebook.com/help/340974655932193.


                                          16
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 28 of 48




Providers would also be prevented from efficiently responding to user or expert

feedback on newly introduced policies—for example, when a new policy prohibits

more speech than originally planned or has other unintended consequences.

      Online platforms must be able to act nimbly to adapt and respond to

developments in this highly dynamic—and content-rich—space. Online services

often allow users to post and share news content and information about current

events.   These services, however, are also sometimes used to post and share

information about dangerous, illegal, or offensive activities—including information

that could be used to coordinate dangerous plans or violent plots.

      These sorts of dynamic moderation practices—which greatly benefit users

across the globe—would be rendered useless if laws were to limit the frequency with

which online platforms may change their policies or practices. Under S.B. 7072,

each policy change would restart an arbitrary 30-day clock, freezing the entire set of

policies in place; during that time, platforms could not respond to changing global

conditions, user feedback, or crisis events. And whenever any changes that were

delayed by the law were ultimately made, a new 30-day freeze would then set in,

again delaying changes to address other emerging problems. The problematic cycle

might never cease.

      The February 1, 2021 coup in Myanmar exemplifies the need for quick and

nimble responses to rapidly changing conditions. One day after the coup, Facebook



                                         17
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 29 of 48




designated Myanmar a “temporary high-risk location” and announced that it would

“remove ‘any calls to bring armaments’ and protect posts criticizing the country’s

military.”32 On February 24, 2021, Facebook further updated its content-moderation

policies in response to the coup, banning Myanmar’s military and “military-

controlled state and media entities from Facebook.”33 Facebook acted due to the

“clear risk of future military-initiated violence,” “[o]ngoing violations by the

military and military-linked accounts and Pages since the February 1 coup, including

... content that violates [its] violence and incitement and coordinating harm policies,

which [it] removed,” as well as the fact that “[t]he coup greatly increases the danger

posed by the[se] [on-platform] [behaviors] ... and the likelihood that online threats

could lead to harm offline.” Facebook explained that it was “continuing to treat the

situation in Myanmar as an emergency and ... remain[ed] focused on the safety of

[its] community,” adding that it would “take additional measures if necessary to keep

people safe.”34   Had it been in effect, S.B. 7072’s 30-day freeze might have


32
       Robertson, Facebook Designates Myanmar a ‘Temporary High-Risk
Location’ After Coup, THE VERGE (Feb. 3, 2021), https://www.theverge.com/
2021/2/3/22264180/facebook-myanmar-coup-response-temporary-high-risk-
location; Purnell, After Myanmar Coup, Facebook Removes National Military TV
Network’s      Page,     WALL      STREET   JOURNAL     (Feb.     2,    2021),
https://www.wsj.com/articles/after-myanmar-coup-facebook-bans-national-
military-tv-networks-page-11612272870.
33
       Frankel, An Update on the Situation in Myanmar, FACEBOOK (Feb. 24, 2021),
https://about.fb.com/news/2021/02/an-update-on-myanmar/.
34
       Id.


                                          18
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 30 of 48




prevented Facebook from taking these steps to rapidly update its rules in response

to a dynamic real-world crisis—a delay that might well have cost lives.

       Moreover, the need for online platforms to develop and modify their policies,

sometimes through iterative processes reflecting their experience, is incompatible

with S.B. 7072’s cyclical imposition of 30-day bans on policy changes. In early

2019, for example, YouTube began to adjust one of its algorithms to avoid

recommending certain conspiracy-related videos that it deemed “borderline

content.” In all, it made more than 30 incremental changes to its formula for

recommending videos between late January and early December 2019.35 Some

platforms’ vast user bases, the complexity of their systems, and users’ creativity in

evading platforms’ content-moderation efforts can make such iterative policy

changes essential. But platforms would not be permitted to take such steps if S.B.

7072 were permitted to go into effect.

       The need for, and benefit of, rapid and iterative changes and adjustments to

content-moderation policies and practices was illustrated again even more recently




35
      Newton, YouTube Says it Will Recommend Fewer Videos About Conspiracy
Theories, THE VERGE (Jan. 25, 2019), https://www.theverge.com/
2019/1/25/18197301/youtube-algorithm-conspiracy-theories-misinformation;
Alexander, YouTube Claims its Crackdown on Borderline Content is Actually
Working, THE VERGE          (Dec. 3, 2019), https://www.theverge.com/
2019/12/3/20992018/youtube-borderline-content-recommendation-algorithm-
news-authoritative-sources.


                                         19
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 31 of 48




as platforms confronted the worldwide COVID-19 pandemic. As the pandemic

progressed in 2020, “YouTube updated its policies related to medical

misinformation alone more than ten times.” Veitch Decl. ¶ 21. Similarly, Twitter

first implemented a policy on COVID-19 misinformation very shortly after the

pandemic began, and since then it repeatedly updated that policy and its methods for

moderating the flow of COVID-19-related posts throughout the pandemic.

          In January 2020, Twitter launched a #KnowTheFacts search prompt
           that would ensure that when users sought information about COVID-
           19, they were “met with credible, authoritative information first.”36 In
           the United States, people who search for key terms on Twitter are
           directed to the dedicated website on coronavirus and COVID-19
           administered by the Centers for Disease Control and Prevention (CDC).

          On March 4, 2020, the search prompt was expanded globally.37

          On March 16, 2020, Twitter announced new enforcement guidance,
           broadening its definition of harm to address content related to COVID-
           19 that goes directly against guidance from authoritative sources of
           global and local public health information. Twitter required individuals
           to remove violative Tweets in a variety of contexts with the goal of
           preventing offline harm.38


36
       Coronavirus: Staying Safe and Informed on Twitter, Launch of a New
Dedicated #KnowTheFacts Search Prompt, TWITTER (Jan. 29, 2020),
https://blog.twitter.com/en_us/topics/company/2020/covid-
19#misleadinginformationupdate.
37
       Coronavirus: Staying Safe and Informed on Twitter, Global Expansion of the
COVID-19 Search Prompt, TWITTER (Mar. 4, 2020), https://blog.twitter.com/en_us/
topics/company/2020/covid-19.html#misleadinginformationupdate.
38
      An Update on Our Continuity Strategy During COVID-19, TWITTER (Mar. 16,
2020; updated Apr. 1, 2020), https://blog.twitter.com/en_us/topics/company/2020/
An-update-on-our-continuity-strategy-during-COVID-19.


                                        20
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 32 of 48




          On March 20, 2020, it announced that it had begun to verify accounts
           that provided credible COVID-19 updates.39

          On April 2, 2020, Twitter published a new policy governing the
           permissible and restricted content of ads referencing COVID-19.40

          Less than three weeks later, on April 22, 2020, Twitter announced that,
           “[g]oing forward and specific to COVID-19,” it might consider
           “unverified claims that have the potential to incite people to action,
           could lead to the destruction or damage of critical infrastructure, or
           cause widespread panic/social unrest” to be “in violation of [its]
           policies.”41

          Again within less than three weeks, on May 11, 2020, Twitter further
           updated its content-moderation policy to “introduc[e] new labels and
           warning messages that will provide additional context and information
           on some Tweets containing disputed or misleading information related
           to COVID-19.42 A week later, on May 18, 2020, it added a new tab that
           “include[d] curated pages” on COVID-19.43




39
       Coronavirus: Staying Safe and Informed on Twitter, COVID-19 account
verification, TWITTER (Mar. 20, 2020), https://blog.twitter.com/en_us/topics/
company/2020/covid-19.html#misleadinginformationupdate.
40
     Coronavirus: Staying Safe and Informed on Twitter, Our ads policy for
COVID-19, TWITTER (Apr. 2, 2020), https://blog.twitter.com/en_us/topics/
company/2020/covid-19.html#misleadinginformationupdate.
41
      Coronavirus: Staying Safe and Informed on Twitter, Broadening our
guidance on unverified claims, TWITTER (Apr. 22, 2020), https://blog.twitter.com/
en_us/topics/company/2020/covid-19.html#misleadinginformationupdate.
42
       Coronavirus: Staying Safe and Informed on Twitter, Updating our approach
to misleading information, TWITTER (May 11, 2020), https://blog.twitter.com/en_us/
topics/company/2020/covid-19.html#misleadinginformationupdate.
43
      Coronavirus: Staying Safe and Informed on Twitter, COVID-19 tab in
Explore, TWITTER (May 18, 2020), https://blog.twitter.com/en_us/topics/company/
2020/covid-19.html#misleadinginformationupdate.


                                       21
       Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 33 of 48




             As vaccines became available to the public, Twitter announced in
              December 2020 that it would “prioritize the removal of the most
              harmful misleading information” surrounding vaccination.44

             In March 2021, Twitter began “applying labels to Tweets that may
              contain misleading information about COVID-19 vaccines.”45

         As these examples of platforms’ rapidly evolving efforts to address public

health challenges or other societal crises amply demonstrate, the freedom to alter

course and revise policies in the face of changing circumstances allows online

services to better protect their online communities, and the general public, in ways

that best serve their specific communities.46

III.     S.B. 7072’s Consistency Requirement And Ban On Frequent Policy
         Changes Would Fundamentally And Deeply Violate Platform Operators’
         First Amendment Rights

         The First Amendment precludes S.B. 7072’s consistency and 30-day no-rule-

change requirements. As the Supreme Court held in Miami Herald Publishing Co.

v. Tornillo, 418 U.S. 241 (1974), the First Amendment protects the right to engage


44
      Twitter Safety, COVID-19: Our Approach to Misleading Vaccine
Information, TWITTER (Dec. 16, 2020), https://blog.twitter.com/en_us/topics/comp
any/2020/covid19-vaccine.
45
       Twitter Safety, Updates to Our Work on COVID-19 Vaccine Misinformation,
TWITTER (Mar. 1, 2021), https://blog.twitter.com/en_us/topics/company/2021/upda
tes-to-our-work-on-covid-19-vaccine-misinformation. Twitter also introduced a
“strike system that determines when further enforcement action is necessary” and
serve to “help educate the public on [its] policies.” Id.
46
      See Douek, COVID-19 and Social Media Content Moderation, LAWFARE
(Mar. 25, 2020), https://www.lawfareblog.com/covid-19-and-social-media-content-
moderation.


                                         22
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 34 of 48




in “editorial control and judgment” over what third-party content to disseminate. Id.

at 258. This right prohibits the government from “[c]ompelling editors or publishers

to publish that which reason tells them should not be published.” Id. at 256

(quotations omitted). And it applies not just to traditional publishers, editors, and

bookkeepers, but to any private actor curating or providing a platform for content.

See Hurley v. Irish-American Gay, Lesbian, & Bisexual Grp., 515 U.S. 557, 566,

575 (1995) (recognizing that parade organizers exercise the same “editorial control

and judgment”).

      First Amendment protections are no less fundamental on the internet. The

Supreme Court has explicitly held that its “cases provide no basis for qualifying the

level of First Amendment scrutiny that should be applied to this medium.” Reno v.

ACLU, 521 U.S. 844, 870 (1997). And for good reason: as the Court explained in

Reno, unlike broadcast media—which the government is allowed to regulate because

of technological constraints limiting the number of available licensees—“the

Internet can hardly be considered a ‘scarce’ expressive commodity.” Id. Rather,

“[t]hrough the use of chat rooms, any person with a phone line can become a town

crier …. Through the use of Web pages, mail exploders, and newsgroups, the same

individual can become a pamphleteer.” Id. Moreover, the internet is not owned

exclusively by any particular provider or platform. If a person’s content violates one

platform’s community standards—or even most platforms’ community standards—



                                         23
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 35 of 48




the person still has many other ways to express that content on the internet, whether

on an independent website or a platform with different standards. Courts have

accordingly held that the First Amendment fully protects the rights of online

providers to decide what content to display and prioritize on their platforms. See,

e.g., Jian Zhang v. Baidu.com Inc., 10 F. Supp. 3d 433, 435 (S.D.N.Y. 2014); e-

ventures Worldwide, LLC v. Google, Inc., No. 14-cv-646, 2017 WL 2210029, at *4

(M.D. Fla. Feb. 8, 2017).

      S.B. 7072 would vitiate platforms’ First Amendment right to engage in

“editorial control and judgment”—which they exercise by developing and enforcing

content-moderation policies. The only way to try to achieve full consistency in

content moderation would be for platforms to do much less moderation, or perhaps

virtually none at all. For example, a YouTube representative explained that the

“‘consistency requirement’ would burden YouTube’s decisions to protect its

communities from harm by removing violative videos quickly,” resulting in “a

significantly higher proportion of content being available on YouTube that violates

the Community Guidelines.” Veitch Decl. ¶ 28. The 30-day freeze on rule changes

would likewise trample providers’ First Amendment editorial rights.           Again,

providers have described these effects: Etsy’s representative stated that the 30-day

requirement “would prevent us from swiftly responding to new trends in the

marketplace, a new law or judicial ruling, or regulatory requests from Federal and



                                         24
      Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 36 of 48




state agencies (such as attempted sales of counterfeit goods, responding to bad actors

taking advantage of a fast-moving news story, or sales of contraband).” Pavlovic

Decl. ¶ 14.

        Forcing online providers to host material that they would rather remove—

even if they may remove it after 30 days—would be a clear violation of their right

to editorial discretion. Indeed, “[w]henever … a State … compels [individuals] to

voice ideas with which they disagree, it undermines [free speech’s many] ends.”

Janus v. Am. Fed’n of State, Cnty., & Mun. Emps., Council 31, 138 S. Ct. 2448, 2464

(2018).    Compelled speech inflicts “additional damage” compared to speech

restrictions because “individuals are coerced into betraying their convictions,” and

“[f]orcing free and independent individuals to endorse ideas they find objectionable

is always demeaning.” Id.; see also W. Va. State Bd. of Educ. v. Barnette, 319 U.S.

624, 634 (1943). Yet S.B. 7072 would, for cyclical periods of up to 30-days each,

effectively compel online platforms to publish content that they deem offensive or

otherwise inappropriate.

IV.     Congress Enacted Section 230 To Preempt Burdensome State Laws Like
        S.B. 7072, That Would Discourage Content Moderation

        Even beyond its First Amendment violations, S.B. 7072 is independently

unlawful because it is both expressly and impliedly preempted by Section 230 of the

Communications Decency Act.          Titled “Protection for private blocking and

screening of offensive material,” Section 230 provides that “[n]o provider or user of


                                         25
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 37 of 48




an interactive computer service shall be treated as the publisher or speaker of any

information provided by another information content provider” or “ held liable on

account of,” as relevant here, “any action voluntarily taken in good faith to restrict

access to or availability of material that the provider or user considers to be obscene,

lewd, lascivious, filthy, excessively violent, harassing, or otherwise objectionable,

whether or not such material is constitutionally protected.” 47 U.S.C. § 230(c). In

enacting this provision, Congress sought both to preserve the internet as a medium

for free expression without heavy government regulation and to encourage internet

platforms to self-regulate and police the types of content that became available on

their sites.47   Moreover, Congress expressly preempted all state laws that are

“inconsistent” with Section 230.         See id. § 230(e)(3). S.B. 7072 is also

“[in]consistent with the structure and purpose” of Section 230 and is therefore

implicitly preempted as well. See Gade v. National Solid Wastes Mgmt. Ass’n, 505

U.S. 88, 98 (1992) (O’Connor, J., plurality op.) (citing Pilot Life Ins. Co. v.

Dedeaux, 481 U.S. 41, 51, (1987)), accord Boggs v. Boggs, 520 U.S. 833, 844

(1997).




47
      Zeran, 129 F.3d at 330; see also Kosseff, The Gradual Erosion of the Law
That Shaped the Internet: Section 230’s Evolution over Two Decades, 18 Colum.
Sci. & Tech. L. Rev. 1 (2016) (explaining Section 230’s “twin goals” were
promoting both internet “innovation and voluntary content moderation”).


                                          26
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 38 of 48




       A. Section 230 Preempts S.B. 7072, Which Extensively Regulates Online
          Services

       In enacting Section 230, Congress preempted state legislation that

undermined its goal of “maintain[ing] the robust nature of Internet communication”

by providing platforms immunity for nearly all content posted by third parties on

their sites. Zeran, 129 F.3d at 330; see also Doe v. Kik Interactive, Inc., 482 F. Supp.

3d 1242, 1247 (S.D. Fla. 2020). “Congress was concerned with any government

actors—including the judicial system—burdening the growth of the internet” and

therefore chose to confer immunity on providers and preempt contrary state and local

legislation.48

       Section 230’s text and legislative history evidence this goal. The preamble of

the statute itself sets forth Congress’s finding that “the Internet and interactive

computer services ‘have flourished, to the benefit of all Americans, with a minimum

of government regulation.’” Zeran, 129 F.3d at 330 (quoting 47 U.S.C. § 230(a)(4)).

Congress also explained that “it is ‘the policy of the United States ... to preserve the

vibrant and competitive free market that presently exists for the Internet and other

interactive      computer    services,    unfettered     by    Federal      or    State

regulation.’” Id. (quoting 47 U.S.C. § 230(b)(2)). And one of the bill’s cosponsors

explained the “message” from Congress was that it “embrac[ed] this new


48
      Kosseff, Defending Section 230: The Value of Intermediary Immunity, 15 J.
Tech. L. & Pol’y 123, 130-31 (2010).


                                          27
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 39 of 48




technology” and “welcome[d] the opportunity for education and political discourse

that it offers for all of us.” 141 Cong. Rec. 21,999, 22,045 (1995) (statement of Rep.

Cox). Section 230 sought to “help it along” by taking the “Government … out of

the way and let[ting] parents and individuals control it rather than Government doing

that job for us.” Id. In short, Congress did not want an “army of bureaucrats

regulating the Internet.” Id. S.B. 7072, which enlists such an army, is preempted.

      Section 230’s drafters also understood that the quantity of content on the

internet—which has far exceeded congressional expectations in 1996—counseled

against allowing government internet regulation. One Section 230 co-sponsor

explained that platforms could not possibly “take the responsibility to edit out

information that is going to be coming into them from all manner of sources…. We

are talking about something that is far larger than our daily newspaper … [and] is

going to be thousands of pages of information every day, and to have that imposition

imposed on them is wrong.”        141 Cong. Rec. at 22,046 (statement of Rep.

Goodlatte). In light of the “obvious chilling effect” posed by online services’

potential tort liability for the “staggering” amount of content on their sites,

“Congress considered the weight of the speech interests implicated and chose to

immunize service providers” to disincentivize them from “severely restrict[ing] the

number and type of messages posted.” Zeran, 129 F.3d at 331.




                                         28
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 40 of 48




      Congress thus enacted Section 230 to encourage the growth of the internet—

an aspiration that has been an undeniable success. The exponential growth of the

internet and online services since 1996 has only reinforced Congress’s judgment that

imposing liability on platforms for perceived content-moderation failures would

seriously impair that success. The scale and magnitude of the task of content

moderation far exceeds anything Congress could have anticipated. See supra pp.12-

13. It would be impossible for internet services to provide users access to this vast

sea of valuable content while simultaneously moderating it in accordance with

government regulations and facing possible sanctions should they fail to do so.

      Moreover, permitting Florida and other states to enact distinct regulatory

regimes governing online services would result in a complex and unworkable

patchwork of varied and conflicting legal obligations. Imagine Georgia were to

enact the very same statute mandating consistency in moderation, but that Georgia

and Florida courts had different ideas of what types of content moderation are

consistent with one another. Platforms’ content-moderation decisions in compliance

with S.B. 7072 might violate the identical Georgia law, and vice versa. Congress

intended to avoid such a situation when it enacted Section 230, which expressly

provides that “no liability may be imposed under any State or local law that is

inconsistent with this section.” 47 U.S.C. § 230(e)(3). If ever a change were to be

made to this regime, Congress—not state legislatures—would be the appropriate



                                         29
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 41 of 48




body to enact it. But Section 230’s drafters clearly contemplated and rejected the

possibility of state laws encroaching on platforms’ control over their site, stating that

the “policy of the United States” is to keep the internet as “unfettered by Federal or

State regulation.” Id. § 230(b)(2) (emphasis added). To allow enforcement of S.B.

7072 would fly in the face of Congress’s clear intent.49

       B. Section 230 Was Enacted To Encourage Online Services To Self-
          Regulate Content On Their Platforms, But S.B. 7072 Would Prohibit
          Them From Doing So

       Congress enacted Section 230 in response to a 1995 New York state court

decision holding online providers potentially liable for third-party content on their

platforms. See Stratton Oakmont, Inc. v. Prodigy Servs. Co., 1995 WL 323710 (N.Y.

Sup. Ct. May 24, 1995); see Force v. Facebook, Inc., 934 F.3d 53, 63-64 & n.16 (2d

Cir. 2019). In Stratton, the defendant online provider, Prodigy, operated a platform

for two million users, each of whom could post content to its “bulletin boards.”

Stratton, 1995 WL 323710, *1-2. Prodigy held itself out as operating a “family


49
        Congress has reaffirmed its commitment to national uniformity when
amending Section 230. When enacting the Fight Online Sex Trafficking Act,
Congress removed a proposed exception to Section 230 for state-law civil claims
that had been included in the original bill. That removal happened immediately after
hearing testimony about the need to maintain a “uniform national policy,” rather
than a “patchwork of 50 different laws.” Online Sex Trafficking and the
Communications Decency Act: Hearing Before the Subcomm. on Crime, Terrorism,
et al. of the H. Comm. on the Judiciary (“CDA H. Comm. Hrg.”), 115th Cong., 1st
Sess. 7, 9 (2017) (testimony of C. Cox & J. Kosseff); see also H.R. Rep. No. 115-
572, at 9-10 (2018) (describing the goal of avoiding a “patchwork of various state
laws”).


                                           30
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 42 of 48




oriented” website and, in pursuit of that goal, issued “content guidelines” and used

screening software to remove offensive or objectionable content. Id. at *2-3. But

Prodigy’s efforts to address problematic content backfired. The New York court

ruled that Prodigy could be liable for third-party content on its bulletin boards

because, rather than allowing all messages, Prodigy had made “decisions as to

content” by “actively utilizing technology and manpower to delete notes from its

computer bulletin boards on the basis of offensiveness and bad taste.” Id. at *4

(citations and quotations omitted). In short, Stratton held that online providers that

voluntarily moderate some third-party content could be held liable for all content

that remains, while providers who engage in no content moderation avoid liability

entirely.

       The following year, Congress enacted Section 230 to reject the “massive

disincentive” that the state court in Stratton had created for online providers to

regulate content on their platforms. 141 Cong. Rec. at 22,045 (statement of Rep.

Cox). The legislation’s sponsors explained that “[o]ne of [its] specific purposes”

was to overrule Stratton and instead immunize providers for “restrict[ing] access to

objectionable material,” even if, like Prodigy, they did not manage to remove all of

it. H.R. Rep. No. 104-458, at 194 (1996) (Conf. Rep.). Section 230 thus created a

national regime that avoided the perverse incentives under Stratton, whereby only




                                         31
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 43 of 48




those platforms that made efforts to engage in socially responsible content

moderation could be held liable for third-party content on their sites.

      Section 230’s text reflects Congress’s goal of promoting self-regulation. The

statute recognizes, for example, that it was meant “to encourage the development of

technologies which maximize user control over what information is received by

individuals, families, and schools who use the Internet and other interactive

computer devices.” 47 U.S.C. § 230(b)(3)); see also id. § 230(b)(4) (“It is the policy

of the United States … to remove disincentives for the development and utilization

of blocking and filtering technologies that empower parents to restrict their

children’s access to objectionable or inappropriate online material”). Given that

clear expression of congressional intent, courts have recognized that Congress

enacted Section 230 to “‘encourage service providers to self-regulate the

dissemination of offensive material over their services.’” Bennett v. Google, LLC,

882 F.3d 1163, 1164 (D.C. Cir. 2018) (quoting Zeran, 129 F.3d at 331); see also

Attwood v. Clemons, No. 18-cv-38, 2021 WL 1020449, at *9 (N.D. Fla. Mar. 17,

2021) (“Congress has chosen to allow private companies and private users to

censor.”).

      Congress also explicitly granted platforms considerable latitude to make their

own independent decisions regarding which content to host and which to moderate,

instead of requiring them to adhere to a one-size-fits-all standard. Section 230



                                         32
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 44 of 48




broadly immunizes platforms from liability related to publishing third-party content,

see 47 U.S.C. § 230(c)(1), as well as “any action voluntarily taken in good faith to

restrict access to or availability of material that the provider or user considers to be

obscene, lewd, lascivious, filthy, excessively violent, harassing, or otherwise

objectionable, whether or not such material is constitutionally protected,” id.

§ 230(c)(2) (emphasis added). As the Second Circuit recently observed, by referring

to content that the provider “considers to be” objectionable, rather than attempting

to define objectionable content, the statutory text “[n]otably … grant[s] significant

subjective discretion” to platforms to determine what content is “objectionable.”

Domen, 991 F.3d at 72.

       Just as Congress intended, many platforms voluntarily engage in socially

beneficial content moderation.50 And by allowing platforms to police themselves

rather than having the government set their standards, platforms with different values

and user bases may choose to employ distinct content-moderation approaches.51

Under this free-market approach to content moderation, platforms “seek to please




50
      See Kosseff, 15 J. Tech. L. & Pol’y at 154-55 (surveying platforms’
prohibitions on offensive content).
51
      Id. at 153-55 (contrasting CNN’s terms of use with MySpace’s); see also
Douek, supra n.46 (“trade-offs between accuracy, comprehensive enforcement and
speed are inherent in every platform rule”).


                                          33
     Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 45 of 48




their customers” and therefore “are more likely than courts to develop content

standards that conform to basic community values.”52

       S.B. 7072 would turn this congressionally-mandated approach on its head. As

described above, supra pp.24-25, S.B. 7072 threatens to force providers to curtail

and possibly even to abandon moderation efforts altogether. Indeed, that is the only

way to guarantee compliance with S.B. 7072’s “consistency” requirement, given the

volume of content and variety of contexts in which it can be used. See supra pp.12-

13. Rather than encouraging varied approaches to content moderation, S.B. 7072

would effectively mandate a uniform approach to content moderation: none. That

outcome is entirely inconsistent with Section 230’s “object and policy,” and S.B.

7072 is therefore preempted. See Gade, 505 U.S. at 98 (O’Connor, J., plurality op.).

                                  CONCLUSION

       For the foregoing reasons, S.B. 7072’s mandate for “consistent” moderation

and limitation on rule changes “more than once every 30 days” are unworkable,

unconstitutional, and preempted by federal law. Further, for the reasons articulated

in plaintiffs’ motion, S.B. 7072 violates the First Amendment, is preempted by

Section 230, and is unconstitutionally vague. Amicus respectfully requests that the

Court grant plaintiffs’ motion for preliminary injunction.




52
       Kosseff, 15 J. Tech. L. & Pol’y at 153.


                                         34
   Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 46 of 48




                                           Respectfully submitted,

                                           /s/ Peter Homer
Patrick J. Carome (pro hac vice pending)   Peter W. Homer
   (D.C. SBN 385676)                          (FL SBN 291250)
Paul R.Q. Wolfson (pro hac vice pending)   HOMER BONNER
   (D.C. SBN 414759)                       1200 Four Seasons Tower
Ari Holtzblatt (pro hac vice pending)      1441 Brickell Avenue
    (D.C. SBN 1009913)                     Miami, Florida 33131
WILMER CUTLER PICKERING                    (305) 350-5139
  HALE AND DORR LLP
1875 Pennsylvania Avenue, NW
Washington, DC 20006
(202) 663-6000




                                      35
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 47 of 48




                      CERTIFICATE OF COMPLIANCE

   This brief complies with the type-volume limitation of Local Rule 7.1(F) because

it contains 7,677 words, excluding the parts of the brief exempted by that rule. This

brief also complies with the format requirements of Local Rule 5.1(C) because it is

double-spaced, in 14-point Times New Roman font, with one-inch margins and

numbered pages.


                                               /s/ Peter W. Homer
                                               Peter W. Homer




                                         36
    Case 4:21-cv-00220-RH-MAF Document 77-2 Filed 06/14/21 Page 48 of 48




                         CERTIFICATE OF SERVICE

   The foregoing was filed this 14th day of June, 2021, through this Court’s

Electronic Filing System. Parties will be served and may obtain copies

electronically, through the operation of the Electronic Filing System.


                                               /s/ Peter W. Homer
                                               Peter W. Homer




                                         37
